






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







ON MOTION FOR REHEARING









NO. 03-06-00467-CR







Michael Wade Parrett, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT


NO. 02-131-K277, HONORABLE KEN ANDERSON, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



The opinion and judgment dated March 30, 2007, are withdrawn.

In September 2002, appellant Michael Wade Parrett pleaded guilty to controlled
substance fraud and was placed on deferred adjudication supervision for five years.  See Tex. Health
&amp; Safety Code Ann. § 481.129 (West 2003).  In July 2006, after appellant pleaded true to one of
several violations of supervision alleged by the State, the court adjudged appellant guilty and
sentenced him to ten years' imprisonment.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573&nbsp;S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516  S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  Appellant received a copy of counsel's brief and was advised of his right
to examine the appellate record and to file a pro se brief.  After our original opinion was filed, the
Court received and filed appellant's motion for rehearing and pro se brief.

We have reviewed the record, counsel's brief, and the pro se brief.  We find nothing
in the record that might arguably support the appeal.  See Bledsoe v. State, 178 S.W.3d 824, 826-27
(Tex. Crim. App. 2005).  Counsel's motion to withdraw is granted.

The motion for rehearing is overruled and the judgment of conviction is affirmed.



				___________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices Puryear and Henson

Affirmed on Motion for Rehearing

Filed:   June 7, 2007

Do Not Publish


